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8                                 IN THE UNITED STATES DISTRICT COURT
9                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        ) CASE NO. 2:11-CR-00054-TLN
                                                      )
12               Plaintiff,                           )
                                                      )
13   v.                                               ) APPLICATION AND ORDER FOR MONEY
                                                      ) JUDGMENT
14   MICHAEL BOLDEN,                                  )
     VICTOR ALVARADO,                                 )
15   NICHOLO ARCEO, AND                               )
     ERICA ARCEO,                                     )
16                                                    )
                                                      )
17                                                    )
                 Defendants.                          )
18                                                    )
19          On December 12, 2013, defendant Michael Bolden entered a guilty plea to Count Three of the
20   Superseding Indictment, which charges him with wire fraud in violation of 18 U.S.C. § 1343.
21          On December 12, 2013, defendant Victor Alvarado entered a guilty plea to Count One of the
22   Superseding Information, which charges his with conspiracy to commit wire fraud a violation of 18
23   U.S.C. § 371, and Count Two of the Superseding Information, which charges his with making false
24   statements to a federal agency in violation of 18 U.S.C. § 1001.
25          On December 5, 2013, defendants Nicholo Arceo and Erica Arceo entered a guilty plea to a
26   Superseding Information, which charges them with conspiracy to commit wire fraud a violation of 18
27   U.S.C. § 371.
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1           As part of his plea agreement with the United States, defendant Michael Bolden agreed to forfeit
2    voluntarily and immediately up to $26,000,000.00, as a personal money judgment pursuant to Fed. R.
3    Crim. P. 32.2(b)(1), which reflects a reasonable compromise between the parties for forfeiture purposes
4    concerning the proceeds the defendant obtained as a result of a violation of 18 U.S.C. § 1343, to which
5    he has pled guilty. See Defendant Bolden’s Plea Agreement ¶ II.F.
6           As part of his plea agreement with the United States, defendant Victor Alvarado agreed to forfeit
7    voluntarily and immediately up to $3,600,000.00, as a personal money judgment pursuant to Fed. R.
8    Crim. P. 32.2(b)(1), which reflects a reasonable compromise between the parties for forfeiture purposes
9    concerning the proceeds the defendant obtained as a result of a violation of 18 U.S.C. §§ 371 and 1001,
10   to which he has pled guilty. See Defendant Alvarado’s Plea Agreement ¶ II.F.
11          As part of their plea agreement with the United States, defendants Nicholo Arceo and Erica
12   Arceo agreed to forfeit voluntarily and immediately up to $758,007.30, as a personal money judgment
13   pursuant to Fed. R. Crim. P. 32.2(b)(1), which reflects a reasonable compromise between the parties for
14   forfeiture purposes concerning the proceeds the defendants obtained as a result of a violation of 18
15   U.S.C. § 371, to which they have pled guilty. See Defendants Arceo’s Plea Agreement ¶ II.G. Plaintiff
16   hereby applies for entry of a money judgment as follows:
17          1.       Pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and Fed. R. Crim. P.
18   32.2(b)(1), the Court shall impose a personal forfeiture money judgment against the defendants as
19   follows:
20                   a.     Michael Bolden in the amount of $26,000.000.00;
21                   b.     Victor Alvarado in the amount of $3,600,000.00; and
22                   c.     Nicholo Arceo and Erica Arceo in the amount of $758,007.30.
23          2.       The above-referenced personal forfeiture money judgment is imposed based on
24   defendants Michael Bolden, Victor Alvarado, Nicholo Arceo and Erica Arceo’s conviction for violating
25   18 U.S.C. § 1343 (Bolden), 18 U.S.C. § 371 (Alvarado) and 18 U.S.C. § 1001 (Alvarado) and 18 U.S.C.
26   § 371 (Nicholo and Erica Arceo) . Said amount reflects a reasonable compromise between the parties
27   for forfeiture purposes concerning the proceeds the defendants obtained, which the defendants agreed is
28   subject to forfeiture based on the offense of convictions. Any funds applied towards such judgment


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1    shall be forfeited to the United States of America and disposed of as provided for by law.
2           3.       Payment of the personal forfeiture money judgment should be made in the form of a
3    cashier’s check made payable to the U.S. Marshals Service and sent to the U.S. Attorney’s Office, Attn:
4    Asset Forfeiture Unit, 501 I Street, Suite 10-100, Sacramento, CA 95814. Prior to the imposition of
5    sentence, any funds delivered to the United States to satisfy the personal money judgment shall be
6    seized and held by the U.S. Marshals Service, in its secure custody and control.
7    DATED: 7/24/2014                                    BENJAMIN B. WAGNER
                                                         United States Attorney
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9                                                        /s/ Kevin C. Khasigian
                                                         KEVIN C. KHASIGIAN
10                                                       Assistant U.S. Attorney
11

12                                                  ORDER
13          For good cause shown, the Court hereby imposes a personal forfeiture money judgment against
14   defendants as follows:
15          a.       Michael Bolden in the amount of $26,000.000.00;
16          b.       Victor Alvarado in the amount of $3,600,000.00; and
17          c.       Nicholo Arceo and Erica Arceo in the amount of $758,007.30.
18          Any funds applied towards such judgment shall be forfeited to the United States of America and
19   disposed of as provided for by law. Prior to the imposition of sentence, any funds delivered to the
20   United States to satisfy the personal money judgment shall be seized and held by the U.S. Marshals
21   Service, in its secure custody and control.
22          IT IS SO ORDERED.
23   Dated: July 24, 2014
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                                                                 Troy L. Nunley
27                                                               United States District Judge

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